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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SMART STUDY CO, :
Plaintiff,
Vv. 20-cv-7889 (JSR)
BICHHA1?23, ET AL.,
Defendants. :
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SMART STUDY CO., :
Plaintiff,
v. 20-cv-7890 (JSR)
B+BABY STORE, ET AL.,
Defendants. :
8 ee x

 

JED S. RAKOFF, U.S.D.d.

On September 24, 2020, based upon plaintiff's ex parte
submissions, the Court made preliminary findings of fact and
preliminary conclusions of law and issued a Temporary Restraining
Order (“TRO”) and related orders. See Sept. 24, 2020 Order (to be
docketed}. The Court also ordered the defendants to show cause
why a preliminary injunction should not issue. See id,

On October 2, 2020, the Court held a hearing on the order to
show cause. The Primrose Lane LLC (“Primrose”) appeared through

counsel; no other defendant did, although interested laypersons

 
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affiliated with two corporate defendants participated in the
teleconference. To provide defendants time to show cause why a
preliminary injunction should not issue and to secure counsel,
where applicable, the Court set subsequent hearings for October 9
(as to defendant Primrose only) and for October 16 (as to all other
defendants). The Court extended the TRO and related orders until
those dates. On October 8, 2020, plaintiff voluntarily dismissed
its claims against certain defendants, including Primrose, and the
Court cancelled the October 9 hearing regarding Primrose.

On October 16, 2020, the Court held a second hearing on the
order to show cause as to the remaining defendants, but no
defendant {other than Primrose) appeared. No defendant (other
than Primrose) has filed a notice of appearance or any other
document. Because the defendants remaining in this action have
not shown cause as to why a preliminary injunction should not
issue, the Court finds, based upon the same preliminary findings
of fact and conclusions of law stated in its September 24, 2020
order, chat Smart Study has demonstrated its entitlement to a
preliminary injunction pending trial as to all remaining
defendants.

As to former defendant Primrose, although Plaintiff has
voluntarily dismissed its ciaims, a live controversy remains.
Primrose argues that plaintiff wrongfully sought a TRO against

Primrose, and that Primrose was thereby damaged and should recover

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against the $10,000 bond that the Court required plaintiff to post.
The Court will permit Primrose to move for damages. Primrose must
offer specific, detailed evidentiary submissions to demonstrate
the damages that it claims.

For these reasons and the reasons stated on the record at the
hearing, see Oct. 16, 2020 Tr. (to be docketed), the Court orders
as follows:

1. With respect to all remaining defendants, defendants having
offered no evidence to the contrary, the Court adheres to
its preliminary findings of fact and = preliminary
conclusions of law and, on that basis, converts the TRO.
into a preliminary injunction pending trial.

2. With respect to Primrose, the Court grants leave for it to
file a motion for damages with evidence by no later than
October 27, 2020. Plaintiff may respond by no later than
November 3, 2020. Primrose may reply by no later than
November 10, 2020. The Court will hear telephonic oral
argument on the motion on November 18, 2020, at 4pm, using
the same dial-in information used for the October 16, 2020
teleconference.

3, The remaining defendants are warned that if they do not
timely appear and respond to the Complaint, then plaintiff

may secure a default judgment against them, in which case

 
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the Court would convert this preliminary injunction into a

permanent injunction,

 

SO ORDERED.
Dated: New York, NY VALE
October 16, 2020 sap, RAKOFF, U.S.D.d.

 
